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                               UNITED STATES DISTRICT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      )
                                              )
v.                                            )       Case No. 1:21-cr-00178-APM
                                              )
PETER SCHWARTZ,                               )
                                              )
       Defendant.                             )


                          MOTION TO DISCLOSE INFORMANTS

       Defendant Peter Schwartz, through undersigned counsel, respectfully moves this

Honorable Court, pursuant to Brady v. Maryland, 373 U.S. 83 (1963), United States v. Morgan,

581 F.2d 933 (D.C. Cir. 1979), and Roviaro v. United States, 353 U.S. 53 (1957), to order the

government to disclose:

       1) the identity of and contact information for any individual who was a confidential
       source of information for any federal law enforcement agency, including all FBI
       “Confidential Human Sources,” the Capitol Hill Police, or the Metropolitan Police
       Department of the District of Columbia, who were present at the Capitol Mall Rally on
       January 6, 2021, or at the Capitol Hill Protest that followed on that same date.

       2) the identity, agency, and current duty station of any federal law enforcement agent,
       including Special Agents of the FBI, who were who were present in “plain clothes” or
       other undercover capacity at the Capitol Mall Rally on January 6, 2021, or at the Capitol
       Hill Protest that followed on that same date.


In addition, Mr. Schwartz seeks an order mandating that the government disclose:

       a)       Any information suggesting or affirming whether any informant was under the

influence of alcohol, narcotics, or other drug at the time of attending events at the Capitol Mall

or on Capitol Hill, or that the informant's faculties to observation and recollect were impaired in

any manner;
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        b)       The length of an extent of the any informant’s status in that capacity, and with

what law enforcement agencies;

        c)       All amounts paid to any informant;

        d)       Any nonmonetary assistance or benefits provided to the informant, including, but

not limited to, assistance in avoiding or minimizing harm from charges pending against the

informant, such status having existed either at the time of the offense and/or any other time

through the day at trial;



        e)       All benefits or promises of benefit or statements that benefit would not be

provided to any such informant without cooperation, and that were made to the informant in

connection with any matter, whether or not fulfilled. "Benefit" refers to any monetary

compensation, assistance of the prosecutor or the court concerning pending charges against the

informant, or any other sort of consideration of value;

        f)       The nature of assistance provided before January 6, 2021, including the number of

occasions and form(s) of help.

        As a factual basis for this motion, the defendant asserts:

        1.       Mr. Schwartz is charged by superseding indictment with, among other things,

assault on a law enforcement officer with a dangerous weapon, i.e., pepper spray.

        2.       In the superseding indictment filed on October 27, 2021, a second defendant was

named for the first time, co-defendant Jeffrey Scott Brown. Mr. Schartz does not know and had

never met Brown before Brown’s arrival at the District of Columbia detention facility.

        3.       Mr. Schwartz is contemplating presentation of a defense based on entrapment by

government agents and/or informants.
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          4.       Mr. Schwartz has pleaded not guilty, and contends that he came to Washington

D.C., for a political rally and protest that was planned for January 6, 2021. To the extent the

rally and protest devolved into other activities, those activities were not consistent with Mr.

Schwartz’s motives and intentions in going to Capitol Hill. Mr. Schwartz lacked a predisposition

to engage in the criminal activity instigated and initiated by others around him.

          5.       In the Affidavit supporting the Criminal Complaint filed against defendant Fi

Duong, Case No. 21 mj 00511 RMM, filed with this Court on June 30, 2021, FBI Special Agent

Jason Jankovitz wrote:

          On the morning of January 6, 2021, FI DUONG and an associate of his (ASSOCIATE 1)
          introduced themselves to a Metropolitan Police Department Undercover Employee (MPD
          UCE) in the vicinity of Freedom Plaza, Washington, D.C.

          6.       On September 25, 2021, the New York Times reported that it had reviewed

documents setting forth communications between an FBI Confidential Human Source in a

network of “Proud Boys” defendants and the source’s FBI handler in the days and hours leading

up to the protests on January 6, including communications while the protest was underway. 1

          7.       On October 21, 2021, United States Attorney General Merrick Garland, while

testifying before the House Judiciary Committee, declined to answer questions put to him by

members of the committee regarding the presence of informants or undercover agents/officers

among the crowd of protesters on January 6, on the basis that any such answers would require

him to comment on ongoing investigations. A denial of the presence of such informants and/or

undercover agents/officers, if true, would not have any implication for any prosecution or

investigation. Thus, the refusal of the Attorney General to confirm their presence is, in itself, an




1   https://archive.md/kzNMv
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implicit confirmation that there were some present, and that evidence of their presence has not

yet been accounted for in this case and others.

        8.       Mr. Schwartz recalls seeing duffle bags in various locations around the Capitol

grounds just prior to and during the protests. Mr. Schwartz saw numerous “pepper spray”

containers inside the duffle bags when they were opened by others. The source of these duffle

bags and the contents therein, if government actors, is information that is material to the defense

in this case.

                                           ARGUMENT

        In Roviaro v. United States, 353 U.S. 53 (1957) the Supreme Court acknowledged

criminal defendant’s entitlement to the disclosure of an informant’s identity in certain

circumstances.

        In this case, the identity of any informants or undercover agents in the crowd of protesters

could lead to exculpatory information regarding the conduct of Mr. Schwartz during the course

of the protests, or the misconduct of government actors that initiated or escalated the violent

clashes between the protesters and law enforcement.

        As has now become clear with the massive volume of video surveillance available to the

Department of Justice, all moments and activities of Mr. Schwartz and other protesters was

captured on video by the near blanket coverage of the Capitol and Capitol Hill grounds by CCTV

cameras and body worn cameras of the untold number of law enforcement officers involved in

responding to the protests.

        The Government has this evidence. The government is uniquely situated to analyze this

evidence. Pursuant Kyles v. Whitley, 514 U.S. 419, 115 S. Ct. 1555, 131 L. Ed. 2d 490 (1995),

the prosecutors in this case are charged with having constructive knowledge of everything shown
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by each of those cameras, as well as any and all participant video which the government has

accumulated in its investigation to date.

               But the prosecution, which alone can know what is undisclosed, must be assigned
       the consequent responsibility to gauge the likely net effect of all such evidence and make
       disclosure when the point of "reasonable probability" is reached. This in turn means that
       the individual prosecutor has a duty to learn of any favorable evidence known to the
       others acting on the government's behalf in the case, including the police. But whether
       the prosecutor succeeds or fails in meeting this obligation (whether, that is, a failure to
       disclose is in good faith or bad faith, see Brady, 373 U. S., at 87), the prosecution's
       responsibility for failing to disclose known, favorable evidence rising to a material level
       of importance is inescapable.


       The government has acknowledged that undercover law enforcement agents were present

in the crowd. News reports suggest that discovery in other indicted cases discloses the presence

of informants working with one or more federal law enforcement agencies were in the crowd and

were providing real-time information to their handlers.

       Only the government has access to all the video surveillance taken on January 6 th, both

the CCTV, body camera video, and participant video that the government has seized. Only the

government knows the identity of the undercover agents and cooperating informants mixed in

with the crowd.

       The government created and is solely responsible for the “surveillance state” that existed

on Capitol Hill on January 6th, recording the movements of every person who was outside and

inside the Capitol that day. Only the government has been able to track Mr. Schwartz’s

movements from the earliest moment he was captured on CCTV or body camera footage. Only

the government knows whether Mr. Schwartz came into contact with undercover agents or

cooperating informants during the course of events during January 6. Only the government

knows if any undercover agent or cooperating informant was a witness to anything alleged to
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have been done by Mr. Schwartz, the events immediately after the alleged offenses, and the

events immediately after the alleged offenses.

        Only defense counsel and Mr. Schwartz fully understand how such evidence might serve

Mr. Schwartz’s defense theory at trial, but defense counsel and Mr. Schwartz do not have the

information held by the government. Thus, disclosure of the identities and a description of what

was seen and/or heard by the undercover officers and cooperating informants present in the

crowd is essential to the ability of the defense to make use of such evidence pursuant to Brady v.

Maryland, 373 U.S. 83 (1963).

        In Roviaro the Supreme Court acknowledged the need for defense counsel to interview

the witness. 353 U.S. at 64 ("[t]he desirability of, ... at least interviewing [the confidential

informant] in preparation for trial, [is] a matter for the accused rather than the government to

decide"). Likewise, in other contexts the Supreme Court has held that an interest in

confidentiality is overcome when the accused's right of confrontation is at stake. See Davis v.

Alaska, 415 U.S. 308 (1974).

        It is the DOJ in general, and the individual prosecutors in this case specifically, who are

charged with the obligation to know and disclose this information. But it is the privilege of the

defense to decide whether and how to make use of this evidence at trial. That decision cannot be

make without the evidence itself.

        The information sought, in addition to the identities, relates directly to the credibility of

the undercovers/informants and their biases, thus it is potentially exculpatory information.

Giglio v. United States, 405 U.S. 150 (1972).

                                               CONCLUSION
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       Based on the foregoing, and any other material which may appear in the record of this

case or supplemental pleadings that Mr. Schwartz reserves the right to file, and at a full hearing

on this matter, the Defendant respectfully requests that this Motion be granted and that this Court

order the government to disclose the requested information.




Date: December 1, 2021                        Respectfully Submitted,



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                               CERTIFICATE OF SERVICE

       I, John M. Pierce, hereby certify that on this day, December 1, 2021, I caused a copy of

the foregoing document to be served on all counsel through the Court’s CM/ECF case filing

system.



                                                  /s/ John M. Pierce
                                            John M. Pierce
